        Case 1:21-cv-00400-APM Document 72-1 Filed 07/13/22 Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


HON. BENNIE G. THOMPSON,
in his personal capacity, Et al.                              Civil Action No. 1:21-cv-00400-APM


                              Plaintiffs,                             responding to the
           v.                                                      AMENDED COMPLAINT

DONALD J. TRUMP, “solely in his personal capacity”
                                                              Plaintiffs Requested Trial by Jury
                            Defendants.



                MEMORANDUM OF LAW IN SUPPORT OF
     MOTION FOR WITHDRAWAL OF DEFENDANTS’ COUNSEL JONATHON
             MOSELEY FOR DEFENDANT OATH KEEPERS, LLC


       COMES NOW JONATHON MOSELEY, as counsel for the Defendant Oath Keepers,

LLC, and hereby moves the Court for an Order of withdrawal of counsel from this civil lawsuit,

and for his grounds states as follows:

       1. Neither a corporation or Limited Liability Company (LLC) (and some other entities)

           are permitted in this Court or probably any court throughout the nation to appear pro

           se but must be represented by counsel.

       2. The prior attorney for the Oath Keepers, LLC, filed a very good Motion to Dismiss

           but then withdrew for lack of being paid.

       3. Jonathon Moseley entered his appearance in January 2022, explicitly explaining at the

           time that this was far from ideal while also representing an individual member of the

           Oath Keepers in the criminal case of USA v. Rhodes, et al., and making clear that he

           intended his participation to be temporary to make sure that the prior Motion to
Case 1:21-cv-00400-APM Document 72-1 Filed 07/13/22 Page 2 of 6




   Dismiss filed by attorney Kerry Morgan was not overlooked or treated as abandoned,

   and that Moseley expected to find a replacement longer term for this case.

4. Counsel Jonathon Moseley has worked vastly harder than the casual observer might

   believe to find alternate counsel for the Oath Keepers, LLC in this lawsuit, even up to

   this very week responding to a random inquiry of an attorney looking to help

   somehow, so that Jonathon Moseley can withdraw.

5. This District by its Local Rules provides an easy and efficient way for an attorney to

   withdraw when a co-counsel remains in the case.

6. Here, however, Moseley has asked anyone who will listen if they would be willing to

   cover this civil lawsuit but so far has found no one.

7. Therefore, the mechanism of withdrawing in favor of remaining co-counsel is not

   available, but a motion to be decided by this Court seems to be required.

8. In Moseley’s experience and observation it is not at all unusual for a judge to deny a

   motion to withdraw from representing a corporation or LLC until that entity is

   represented by counsel.

9. Here there are of course other circumstances, but that still leaves this litigation

   pending (although on interlocutory appeal by other Defendants on issues that largely

   are different from the Oath Keepers’ defenses) without being able to proceed if an

   LLC has no attorney in the case.

10. Moseley, although the District of Columbia is a separate jurisdiction, is currently,

   temporarily suspended in this jurisdiction awaiting appeal and cannot of course

   continue in representing Oath Keepers, LLC.

11. Moseley has had to ignore inquiries and notices from the Court of Appeals.




                                          2
Case 1:21-cv-00400-APM Document 72-1 Filed 07/13/22 Page 3 of 6




12. However, the effect of leaving no counsel representing an LLC may have

   consequences delaying or derailing the progress of the case. Fortunately, ironically,

   the interlocutory appeal may offer time for this to be resolved without affecting the

   progress of the case at the trial level, but perhaps not.

13. Perhaps this public record might alert attorneys to the possibility of stepping up and

   stepping in and taking over the representation.

14. Moseley suspects that many potential attorneys might not be thinking about the

   ability of attorneys from other States to be admitted pro hac vice here in this District,

   although that ought not to be a mystery, just something they might not be thinking of.

15. The likelihood of working without getting paid may also be a deterrent that Moseley

   emphasizes is not a commentary on the merits of the Defendant’s case or position.

16. Moseley has encouraged the creation of another legal defense fund, the Patriot’s

   Legal Defense Fund, Inc. at www.PatriotsLegalDefense.org to try to solve this

   problem and arrange funding to cover civil defense for this Defendant and others.

17. Furthermore, the Defendant Oath Keepers, LLC, although led in its executive power

   by leader Stewart Rhodes, has been tremendously unresponsive and disorganized.

   Despite briefing Board of Directors members, apparently an entirely new Board, in

   January 2022, promises of responses, information, decisions, and cooperation have

   not resulted in any action that would allow counsel to proceed beyond Kerry

   Morgan’s previously-filed Motion to Dismiss in this case.

18. Moreover, the Oath Keepers leader to whom Stewart Rhodes gave his power of

   attorney has now suffered two strokes and apparently now a heart attack over the last

   3 months and is back in the hospital and inaccessible for any business items, certainly




                                          3
        Case 1:21-cv-00400-APM Document 72-1 Filed 07/13/22 Page 4 of 6




           anything stressful.

       19. To the extent possible, Moseley has notified anyone he can contact many months ago

           of his need to withdraw, even as far back as February 2022.

       20. Moseley made it clear to Stewart Rhodes, the founder and leader of the Oath Keepers,

           in early January 2022 (before Stewart Rhodes was arrested while Moseley was on the

           phone with him) that Moseley was helping out only temporarily and wanted Stewart

           Rhodes to find another attorney for the LLC because of Moseley’s representation of

           Kelly Meggs at the time, both in substance and in workload.

       WHEREFORE, Jonathon Moseley, requests that the Court enter an order formalizing the

withdrawal of Mr. Jonathon Moseley as civil counsel for the Oath Keepers, LLC, even though

this may cause complications of having an LLC unrepresented by any attorney. It is hoped that

this difficulty will only be in the short term and it can be remedied soon.

Dated: July 13, 2022                  Respectfully submitted, JONATHON MOSELEY


                                               /s/ Jonathon Moseley
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 13, 2022, I electronically filed the foregoing document with
the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing
to the following CM/ECF participant(s), and also mailed a copy to the following by first class
U.S. mail, postage prepaid, one single copy to each law firm for distribution internally to all
counsel involved from that law firm, to:

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                                                 4
Case 1:21-cv-00400-APM Document 72-1 Filed 07/13/22 Page 5 of 6




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                                    5
Case 1:21-cv-00400-APM Document 72-1 Filed 07/13/22 Page 6 of 6




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                                   6
